   Entered on Docket February 5, 2021             Below is the Order of the Court.




                                                  _________________________
                                                  Timothy W. Dore
                                                  U.S. Bankruptcy Court
                                                  (Dated as of Entered on Docket date above)




__________________________________________________________________________




Case 20-11939-TWD      Doc 45    Filed 02/05/21    Ent. 02/05/21 13:29:11           Pg. 1 of 4
Case 20-11939-TWD   Doc 45   Filed 02/05/21   Ent. 02/05/21 13:29:11   Pg. 2 of 4
Case 20-11939-TWD   Doc 45   Filed 02/05/21   Ent. 02/05/21 13:29:11   Pg. 3 of 4
Case 20-11939-TWD   Doc 45   Filed 02/05/21   Ent. 02/05/21 13:29:11   Pg. 4 of 4
